Case 25-30155 Document 37-6 Filed in TXSB on 04/07/25 Page 1 of 15




                  EXHIBIT 6
Case 25-30155 Document 37-6 Filed in TXSB on 04/07/25 Page 2 of 15
Case 25-30155 Document 37-6 Filed in TXSB on 04/07/25 Page 3 of 15
Case 25-30155 Document 37-6 Filed in TXSB on 04/07/25 Page 4 of 15
Case 25-30155 Document 37-6 Filed in TXSB on 04/07/25 Page 5 of 15
Case 25-30155 Document 37-6 Filed in TXSB on 04/07/25 Page 6 of 15
Case 25-30155 Document 37-6 Filed in TXSB on 04/07/25 Page 7 of 15
Case 25-30155 Document 37-6 Filed in TXSB on 04/07/25 Page 8 of 15
Case 25-30155 Document 37-6 Filed in TXSB on 04/07/25 Page 9 of 15
Case 25-30155 Document 37-6 Filed in TXSB on 04/07/25 Page 10 of 15
Case 25-30155 Document 37-6 Filed in TXSB on 04/07/25 Page 11 of 15
Case 25-30155 Document 37-6 Filed in TXSB on 04/07/25 Page 12 of 15
Case 25-30155 Document 37-6 Filed in TXSB on 04/07/25 Page 13 of 15
Case 25-30155 Document 37-6 Filed in TXSB on 04/07/25 Page 14 of 15
Case 25-30155 Document 37-6 Filed in TXSB on 04/07/25 Page 15 of 15
